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                EXHIBIT 15
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                                    CITY COUNCIL COMMITTEES AND AGENDAS


    > City Council > Committees and Agendas > Housing and Community Affairs




                                                                                                             CITY COUNCIL COMMITTEES LI
CITY COUNCIL COMMITTEES AND AGENDAS
                                                                                                              Council Committees Home Page
Housing And Community Affairs                                                                                 Budget and Fiscal Affairs
The Housing and Community Affairs (HCA) committee considers recommendations, financing, and                   Childhood and Youth
policies that promote affordable housing and neighborhood revitalization in Houston. The committee
                                                                                                              Economic Development
oversees the Housing and Community Development Department (HCDD), which administers over $100
million annually in neighborhood parks, multi-family, and single-family programs. Chaired by Council          Ethics, Elections and Council Governa
Member Tiffany D. Thomas, the committee also oversees homeless initiatives and veteran's affairs.             Housing and Community Affairs
Meetings for the Housing and Community Affairs Committee will occur on the third Tuesday of each
                                                                                                              Public Safety and Homeland Security
month at 10:00 a.m. unless noted otherwise. All meetings are open and accessible to the public and will
include an opportunity for public comment related to the items presented during that meeting.                 Quality of Life
                                                                                                              Regulatory and Neighborhood Affairs
   2024 HCA Meeting Calendar (.pdf, updated 01.11.2024)
                                                                                                              Transportation, Technology, and
The links below are .pdf files unless otherwise indicated.                                                    Infrastructure

   January 30, 2024 -- Special called meeting about 9% tax credits ... Agenda coming soon
   December 19, 2023 -- Agenda | Housing Dept Presentation | Houston Community Land Trust
   November 13, 2023 -- No meeting                                                                           CITY COUNCIL LINKS
   October 17, 2023 -- Agenda | Housing Dept. Presentation
                                                                                                              City Council Home Page
   September 19, 2023 -- Agenda | Housing Dept. Presentation
   August 22, 2023 -- Agenda | Housing Dept. Presentation (.pptx)                                             Admin. Office of City Council
   June 20, 2023 -- Agenda | Housing Dept. Presentation
   May 16, 2023 -- Agenda                                                                                     Agenda Backup
   April 18, 2023 -- Agenda | Housing Dept. Presentation                                                      Agenda of City Council
   March 21, 2023 – Agenda | Housing Dept. Presentation
   February 21, 2023 -- Agenda | Housing Dept. Presentation                                                   Campaign Finance Reports (Electron
   February 7, 2023 -- Agenda | 9% Housing Tax Credits
                                                                                                              Campaign Finance Reports (Historic
   January 17, 2023 -- Agenda | Housing Dept Presentation
   December 14, 2022 -- Agenda | Housing Dept Presentation                                                    Conflict of Interest Forms
   November 15, 2022 -- Agenda Packet | Housing Dept Presentation
https://www.houstontx.gov/council/committees/housing.html                                                                                         1/4
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   October 18, 2022 -- Agenda Packet | Housing Dept Presentation                                            Council Committee Agendas
   September 28, 2022 -- Agenda | Housing Dept Presentation
   August 16, 2022 -- Agenda Packet | Housing Dept Presentation                                             County Clerk's Office
   July 19, 2022 -- Agenda | Housing Dept Presentation | Houston’s Homeless Response System
                                                                                                            District Boundaries Ordinance
   June 21, 2022 -- Agenda | Housing Dept. Presentation (.pptx) | Harvey Grant Update (.pptx)
   April 19, 2022 -- Agenda | Housing Dept. Presentation                                                    Maps of Council Districts
   March 31, 2022 (rescheduled from March 22) -- Agenda | Housing Dept. Presentation
   February 15, 2022 -- Agenda | Housing Dept Presentation                                                  Meetings Information, Etc.
   January 25, 2022 (special called meeting) -- Agenda and Backup Packet | Housing Tax Credits
                                                                                                            Voter Registration Info
   Presentation
   January 18, 2022 -- Agenda Packet | Housing Dept Presentation                                            Who Is My Council Member?
   December 13, 2021 -- Agenda | Housing Dept Presentation
   November 16, 2021 -- Agenda | Housing Dept. Presentation
   October 19, 2021 -- Agenda | Housing Dept Presentation | Emergency Rental Assistance Program Fact
   Sheet
   October 7, 2021 -- Agenda | Housing Dept. Presentation
   September 21, 2021 -- Agenda | Housing Dept Presentation | Solid Waste Dept FY22 Budget
   Amendment Presentation (.pptx)
   August 31, 2021 -- Agenda | Housing Dept Presentation (.pptx)
   June 15, 2021 -- Agenda | Housing Dept. Presentation
   May 27, 2021 -- Agenda | Housing Dept Presentation
   April 20, 2021 -- Agenda | Housing Dept Presentation
   March 23, 2021 -- Agenda | Housing Department Presentation
   February 23, 2021 ... Joint Committee Meeting: Housing & Community Affairs | Transportation,
   Technology, And Infrastructure | Economic Development -- Agenda | Housing Department
   Presentation
   February 3, 2021 (special called meeting) -- Agenda | Housing Tax Credits | 9% Tax Credit Applications
   Map for 2021
   January 26, 2021 -- Agenda Packet | Housing Dept Presentation
   November 17, 2020 -- Agenda Packet | Housing Dept Presentation
   September 15, 2020 -- Agenda Packet | Housing Department Presentation (.pptx)
   August 18, 2020 -- Agenda Packet | Housing Department Presentation (.pptx)
   To join the meeting, type this link into your browser: https://bit.ly/HCAAugust. To sign up for Public
   Comment, email Cherrelle.Duncan@houstontx.gov before 10 a.m. on Monday, August 17th.
   June 22, 2020 -- Agenda Packet | Housing Department Presentation
   May 26, 2020 -- Agenda | Housing Dept Presentation
   April 27, 2020 (rescheduled from April 21) -- Agenda Packet | Housing Dept Presentation
   February 18, 2020 -- Agenda Packet | Housing Dept. Presentation
   February 3, 2020 -- Agenda Packet | Housing Department Presentation | Agenda Items
   December 17, 2019 -- Agenda Packet | Housing Department Presentation
   October 15, 2019 -- Agenda Packet | Housing Dept. Presentation (.pptx) | Homeowner Assistance
   Program September Report
   September 17, 2019 -- Agenda Packet | Housing Department Presentation
   August 20, 2019 -- Agenda Packet | Housing Department Presentation (.pptx) | Area Median Income
   Chart (updated 07.14.2020)
   July 16, 2019 -- Agenda Packet | HCA Presentation with Production Data | PC Booklet HCDD 2018
   Annual Report
   June 18, 2019 -- Agenda Packet
   May 22, 2019 -- Agenda Packet | Housing Department – HCA Presentation | Veterans Affairs Office –
   SAMHSA Presentation (.pptx) | Veterans Affairs Office – Training & Education Committee Handout
   April 16, 2019 -- Agenda Packet



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   March 19, 2019 -- Agenda Packet | HCA Presentation (.pptx) | Office of Veterans Affairs Presentation
   (.pptx) | Office of Veterans Affairs Facts Sheet
   February 19, 2019 -- Agenda Packet | Housing Dept. Presentation
   January 29, 2019 -- Agenda Packet | Housing Dept. Presentation
   January 22, 2019 -- Agenda Packet
   December 18, 2018 -- Agenda Packet | Housing Dept. Presentation
   November 27, 2018 -- Agenda Packet | Housing Dept. Presentation
   November 7, 2018 -- Agenda Packet | Housing Dept. Presentation
   September 18, 2018 -- Agenda | Housing Dept. Presentation
   August 21, 2018 -- Agenda and Cover Sheets| Housing Committee Presentation
   June 19, 2018 -- Agenda | Housing Committee Presentation
   May 15, 2018 -- Agenda and Cover Sheets | Housing Department Presentation
   April 17, 2018 -- Agenda and Cover Sheets | Housing Department Presentation
   March 20, 2018 -- Agenda and Backup | Housing Department Presentation
   February 20, 2018 (special called meeting) -- Agenda and Backup | Housing Dept Presentation
   January 31, 2018 (special called meeting) -- Agenda and Backup | Housing Dept. Presentation | LIHTC
   Application - City of Houston Review Document
   Tuesday, January 16th 2018 - The 10:00 a.m. Housing and Community Affairs Committee meeting for
   today has been canceled due to weather.
   December 12, 2017 -- Agenda | Disaster Recovery | Housing Dept. Director's Report
   November 28, 2017 -- Agenda | Housing Dept. Presentation | Housing Items Backup Material | Single
   Stream Recycling Processing Services Contract
   October 24, 2017 (special called meeting) -- Agenda
   October 17, 2017 -- Agenda Packet and Backup
   September 19, 2017 -- Agenda Packet and Backup
   August 15, 2017 -- Agenda Packet and Backup | Housing Director's Report |
   July 18, 2017 -- Agenda Packet and Backup | Single Stream Recycling | Updated Single Stream RCA |
   Housing Director’s Report
   June 27, 2017 (special called meeting) -- Agenda Packet and Backup | Single Stream Recycling
   Processing Services Ordinance
   June 20, 2017 -- Agenda Packet and Backup | Housing Dept. Presentation (.pptx)
   May 16, 2017 -- Agenda Packet and Backup | TIRZ Presentation
   April 18, 2017 -- Agenda Packet and Backup | Committee Presentations | MVA Booklet Report
   March 21, 2017 -- Agenda and RCA's | 2017 Annual Action Plan | Housing Dept Presentation
   February 21, 2017 -- Agenda and Packet | Housing Dept Presentation
   February 1, 2017 -- Agenda and Backup | Low Income Housing Tax Credit Applications 2017 9% Cycle -
   City of Houston | Low Income Housing Tax Credit Applications 2017 9% Cycle - City of Houston ETJ |
   Community Land Trust | Housing Dept. Power Point Presentation
   November 15, 2016 -- Agenda and Packet | Housing Dept Presentation (.pptx)
   October 18, 2016 -- Agenda and Backup | Hurricane Ike Disaster Recovery Overview of Activities
   September 20, 2016 -- Agenda and Backup
   August 23, 2016 -- Agenda | Packet
   July 19, 2016 -- Agenda and Packet
   June 14, 2016 -- Agenda and Packet
   May 24, 2016 -- Agenda and Packet
   April 19, 2016 -- No Meeting
   March 22, 2016 -- Agenda Packet
   March 1, 2016 -- Agenda Packet
   February 16, 2016 -- Agenda Packet
   February 3, 2016 -- Agenda | Pre-application Summary (2016), for Housing Tax Credits (.xlsx) |
   Application Summary | 9% Housing Tax Credit applications Resolutions of Support and Resolutions of
   No Objection

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   December 15, 2015 -- Agenda Packet
   November 17, 2015 -- Agenda Packet | City Demolition Efforts | Creative Ways of Assessing Nuisance
   Abatement
   October 20, 2015 -- Agenda Packet
   September 15, 2015 -- Agenda Packet
   July 21, 2015 -- Agenda Packet
   June 16, 2015 (rescheduled for June 24 at 2:00 p.m.) -- Agenda Packet
   May 13, 2015 -- Agenda Packet
   April 8, 2015 -- Agenda Packet
   March 24, 2015 -- Agenda Packet
   March 4, 2015 -- Agenda | Agenda Packet
   February 17, 2015 -- Agenda Packet
   January 20, 2015 -- Agenda | Agenda Packet
   November 18, 2014 -- Agenda Packet
   October 21, 2014 -- Agenda Packet
   July 15, 2014 -- Agenda Packet
   June 17, 2014 -- Agenda Packet
   April 15, 2014 -- Agenda Packet
   March 4, 2014 -- Agenda | Agenda Packet | Proposed Agenda Items
   February 18, 2014 -- Agenda | Proposed Agenda Items




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